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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                CRIMINAL NO. 06-407 (MJD/AJB)

                     PLAINTIFF,

V.                                                                             ORDER

TRAVIS CORRELL (03),

                     DEFENDANT.


       This matter is before the Court on a Report and Recommendation from Magistrate Judge

Arthur J. Boylan dated November 19, 2007. There being no objections filed to Magistrate Judge

Boylan’s Report and Recommendation, THE COURT HEREBY ORDERS that Defendant

Travis Correll’s Motions to Dismiss the Second Superseding Indictment Based on Vindictive

Prosecution and for Discovery of Grand Jury Transcripts and Evidence [Docket No. 124] are

denied.



Dated: December 3, 2007



                                                         s/Michael J. Davis
                                                         The Honorable Michael J. Davis
                                                         United States District Court
